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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                      CRIMINAL ACTION NO. 2:09-cr-00222

ERIC WAYNE LYTTLE,
JAMES EDWARD LYTTLE, and
DONALD L. MASSEY Jr.

                               Defendants.


                                  MEMORANDUM OPINION


       The purpose of this Memorandum Opinion is to set forth the Court’s findings regarding the

factual bases for the guilty pleas of Defendants Eric Wayne Lyttle, James Edward Lyttle, and

Donald L. Massey Jr.

                           I. BACKGROUND AND PROCEDURAL HISTORY

       Defendants Eric Lyttle, James Lyttle, and Massey are among fifty-five members and

associates of the Pagans Motorcycle Club (PMC) charged in a sweeping forty-four count indictment.

A paired-down twenty-nine count superseding indictment was returned on February 2, 2010. These

defendants were charged in the original indictment, and they each pled guilty to various subsections

of 18 U.S.C. § 1959 (“VICAR”).1


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   James Lyttle originally pled guilty to 18 U.S.C. § 924(c), which charged him with carrying a
firearm during the commission of a crime of violence. The Government recently filed a motion with
the Court to schedule a second Rule 11 hearing for James Lyttle, this time to accept a plea of guilty
to 18 U.S.C. § 1959(a)(4) and § 2. The Government’s motion and the new plea agreement
                                                                                      (continued...)
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       Stipulations of fact were attached to each defendant’s plea agreement for the purpose of

establishing the factual basis for the offenses. Relying largely on the stipulation of facts, the Court

found a basis in fact for the pleas of Eric Lyttle and Massey at the conclusion of their respective plea

hearings in late 2009. Then, on December 4, 2009, Thomas Morris appeared before the Court to

enter a guilty plea to Count Seven of the original indictment, which charged him with a separate

VICAR offense. The Court expressed reservations at the hearing as to whether the elements of a

VICAR offense were adequately supported by the stipulation of facts attached to Morris’s plea

agreement. Upon reviewing the proposed factual basis in greater detail after the plea hearing, the

Court concluded that the stipulation expressly negated the intent element of the offense. The Court

therefore rejected the guilty plea for lack of a factual basis. (Docket 840.) This troubling sequence,

in combination with other factual basis concerns,2 prompted the Court to review its factual basis

findings for all defendants who had previously entered guilty pleas.

       The Court has completed its review of the factual basis as to the three above-named

defendants and hereby sets forth its findings for the record.

                                          II. DISCUSSION

       A. Background of the Offense

       The incident giving rise to the charges against defendants Eric Lyttle, James Lyttle, and

Massey is described in the defendants’ stipulations of fact and was the subject of an evidentiary




1
 (...continued)
contemplate dismissal of the firearm charge to which James Lyttle originally pled.
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  For example, in March 2010, the Court refused to accept Defendant Joseph Schmidt’s plea of
guilty to Count Eleven of the superseding indictment. Defendant Schmidt disavowed the contents
of his stipulation and sought to withdraw his guilty plea.

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hearing held on June 17, 2010. The evidence in the record tells the following story. The defendants

are members of the Last Rebels Motorcycle Club (LRMC). The LRMC is a support club for the

PMC. Support clubs are motorcycle clubs operating within the PMC’s territory with the PMC’s

permission. As a support club, the LRMC is obligated to perform any task assigned by the PMC,

even if that task involves engaging in unlawful activity. Sometime in April of 2008, PMC national

vice president Floyd Moore issued orders to the LRMC that they were to shut down a small

motorcycle riding group called Next to Kin. The Next to Kin had been formed by several

motorcycle enthusiasts as a “family-oriented riding group” for the purpose of going on rides

together. Its membership consisted of two married couples and three of their friends. The teenage

son of one of the couples had designed a logo for the group, and the members ordered custom-made

vests with the logos. The Next to Kin’s offense against the PMC was not obtaining proper

permission to form a motorcycle club in PMC territory.

       The LRMC discussed Moore’s orders at their next weekly meeting on April 5, 2008. Orders

were given to the LRMC’s members that they were to be on the lookout for the Next to Kin. If they

encountered the Next to Kin on the roads, they were to “take their patches”—that is, strip them of

any insignia of the club and order them to dissolve the club. These orders were included in the

minutes for the meeting.

       Shortly thereafter, both Lyttles and Massey, accompanied by Anthony Peters and Jeffrey

Jett,3 were out riding their motorcycles in Racine, West Virginia. The specific purpose of the

excursion that day was clearly something other than seeking out the Next to Kin club, and may have



3
 Defendants Jett and Peters entered Pretrial Diversion Agreements with the Government before the
Court on November 4, 2010.

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been to visit the grave site of James Lyttle’s mother. The LRMC members spotted several

motorcyclists pulled over in a supermarket parking lot. Thinking they were other LRMC members,

the group headed towards the other motorcyclists. There they encountered four members of the Next

to Kin—the two couples—waiting for two other people who would be joining them for a motorcycle

ride.

        Eric Lyttle, who is known as “Tree” due to his towering stature, dismounted his motorcycle

and demanded that one of the Next to Kin members, Scott Smith, come speak to him. Peters and

James Lyttle were standing near Eric Lyttle. Peters admitted that he assumed a threatening posture,

and Scott Smith observed that James Lyttle was carrying a firearm. Jett was nearby, but he did not

dismount his motorcycle. Jett and Peters admitted that their role in the incident was to be part of a

show of force. Massey stood behind Scott Smith’s wife, April Smith, taunting the group. According

to the testimony of April Smith and Eric Lyttle, Massey was asking the Next to Kin members if they

“wanted to start something” and telling them that he “ain’t scared to whoop nobody.” Eric Lyttle

demanded that the Next to Kin turn over their vests to him. Eric Lyttle testified that he gave Scott

Smith an ultimatum: he could turn over the Next to Kin vests on the spot or Lyttle would tell the

Pagans and the Next to Kin members would “have hell to pay.” April Smith approached Eric Lyttle

and her husband. Scott Smith told her to hand over her vest to Lyttle. He then told her to call the

police. Eric Lyttle warned him, “That would be the worst thing you could do.” Scott Smith then

directed the other couple to hand over their vests to Eric Lyttle. With vests in hand, the LRMC

members left. The incident was memorialized in the minutes of the LRMC’s April 19, 2008, chapter

meeting.




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        Eric Lyttle, James Lyttle, Massey, Jett, and Peters all were charged with offenses in

connection with the confrontation with the Next to Kin. Eric and James Lyttle and Massey pled

guilty to Count Ten of the original indictment, which charged them with threatening to commit a

crime of violence, or aiding and abetting the same, in violation of 18 U.S.C. § 1959(a)(4)

(“VICAR”) and § 2. The predicate crime of violence is cited as W. Va. Code § 61-2-9.

        B. Substantive VICAR Offense

        The guilty pleas of Eric Lyttle, James Lyttle, and Massey are contingent upon it being

established that at least one of their number committed the substantive offense of threatening to

commit a crime of violence in aid of racketeering. Upon that finding, the criminal liability of the

other defendants who pled to Count Ten is established only if they acted in some way to aid and abet

the threat of violence.

        To establish the substantive offense of threatening to commit a crime of violence in aid of

racketeering in violation of 18 U.S.C. § 1959(a)(4), the Government must prove the following five

elements: (1) that the PMC and its support clubs constituted an enterprise; (2) that the enterprise was

engaged in racketeering activity; (3) that the defendants had a position in the enterprise; (4) that the

defendants threatened the alleged crime of violence, namely, battery in violation of W. Va. Code §

61-2-9(c); and (5) that their general purpose in so doing was to maintain or increase their position

in the enterprise. See United States v. Fiel, 35 F.3d 997, 1003 (4th Cir. 1994).

        Not all of the elements are in question. The Court has previously found that the PMC and

its support clubs constitute an enterprise as that term is defined in 18 U.S.C. § 1959(b)(2). It is clear

that the defendants here had a position in that enterprise. They all freely admit that the LRMC was

a support club for the PMC and that they were members in good standing of the LRMC. There


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likewise is little doubt that the defendants’ actions on that April morning were motivated by the

desire to maintain their positions in the enterprise. The orders were issued directly from the PMC’s

national vice president. The defendants’ membership and standing in the LRMC were dependant

on the fulfillment of that order.

       The two remaining VICAR elements at issue are the second and the fourth—that the

enterprise was engaged in racketeering activity and that the defendants threatened to commit a crime

of violence. Each element will be discussed in greater detail.

               1. Enterprise engaged in racketeering activity

       The Government must prove the following to establish VICAR’s “enterprise engaged in

racketeering activity” element: (1) that there was a present and ongoing threat that the enterprise

would commit racketeering acts through its members; (2) that the threat arose from one or more

racketeering acts committed by a member of the enterprise on behalf of the enterprise; and (3) that

the threat was existent at the time the predicate crime of violence was committed or threatened.

Barbeito, 2010 WL 2243878, at *17, 2010 U.S. Dist. LEXIS 55688, at *58&59. Racketeering

activity is defined as either “any act or threat involving murder, kidnapping, gambling, arson,

robbery, bribery, extortion, dealing in obscene matter, or dealing in a controlled substance or listed

chemical, . . . which is chargeable under State law and punishable by imprisonment for more than

one year,” or “any act which is indictable” under any of an extensive list of federal offenses. 18

U.S.C. § 1961(1).

       There are numerous examples of racketeering activity alleged to have been committed by

PMC members or associates on behalf of the enterprise. Defendants Jett and Peters have stipulated




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to at least three such acts. The Court may base its factual basis finding on any evidence in the

record, United States v. Mastrapa, 509 F.3d 652, 660 (4th Cir. 2007).

       The first example of racketeering activity involves an incident that occurred in Portsmouth,

Ohio, in November of 2004. According to co-Defendant David Cremeans’s stipulation of facts and

facts proffered at a hearing held on June 22, 2010, one of the the PMC’s support clubs, the Road

Disciples Motorcycle Club (RDMC), was not satisfactorily fulfilling its obligations to the PMC.

PMC vice president Floyd Moore ordered West Virginia-based members of the PMC and the LRMC

to confront the RDMC members at their clubhouse in Portsmouth, Ohio. The assembled PMC and

LRMC members traveled to Portsmouth in several vehicles. A number of them were armed with

axe handles, at least one of them carried a knife, and one of them possessed a handgun. When they

arrived, the PMC and LRMC members entered the RDMC clubhouse in a show of force. The

RDMC members were presented with an ultimatum: they could agree to fulfill their support club

obligations, relinquish their “16” patches, or risk a violent melee. Fearing violence, the RDMC

members turned over their “16” patches.

       Robbery is a racketeering activity, as that term is defined in 18 U.S.C. § 1961(1). Ohio Rev.

Code Ann. § 2911.02 is Ohio’s robbery statute. It states, in part:

               (A) No person, in attempting or committing a theft offense or in fleeing
               immediately after the attempt or offense, shall do any of the following:
                      (1) Have a deadly weapon on or about the offender’s person or under
                      the offender’s control;
                      (2) Inflict, attempt to inflict, or threaten to inflict physical harm on
                      another;
                      (3) Use or threaten the immediate use of force against another.

Ohio Rev. Code Ann. § 2911.02. Numerous crimes qualify as theft offenses under Ohio law. Ohio

Rev. Code Ann. § 2913.01. The most appropriate theft offense under the present facts appears to


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be Ohio Rev. Code Ann. § 2913.02, which provides: “No person, with purpose to deprive the owner

of property or services, shall knowingly obtain or exert control over either the property or services

in any of the following ways: . . . By threat; . . . [or] By intimidation.”

       The record is sufficient to establish that PMC members engaged in a robbery under Ohio

law. The RDMC were deprived of property, namely their “16” patches. They turned over the

patches in response to intimidation and implicit, if not explicit, threats of violence. Such acts

constitute a theft offense under Ohio Rev. Code Ann. § 2913.02.4 The theft offense is elevated to

robbery because one of the PMC members possessed a knife and another possessed a firearm during

the incident. It is immaterial that the victims may not have been aware of the weapons because

Ohio’s robbery statute requires only that a deadly weapon be under the perpetrator’s control during

the commission of a theft offense. Ohio Rev. Code Ann. § 2911.02(A)(1). Further, the weapon

need not be used, displayed, or brandished. State v. Wharf, 715 N.E.2d 172, 175 (Ohio 1999)

(discussing Ohio Rev. Code Ann. § 2911.02(A)(1)). Robbery is a felony under Ohio law punishable

by more than one year in prison. Thus, it qualifies as a racketeering activity under VICAR. See 18

U.S.C. § 1961(1) (“‘racketeering activity’ means . . . any act or threat involving . . . robbery . . .

which is chargeable under State law and punishable by imprisonment for more than one year . . . .”).

In addition, the robbery episode represents a continuing threat directed to the RDMC and other

support clubs in the PMC’s territory, the message of which is that the PMC will maintain control

of its support clubs through violence and intimidation. The Racine incident, which is very similar

in many ways to the Portsmouth incident, further supports the notion of this continuing threat.


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  It is of no moment that the patches may have had little monetary value because Ohio Rev. Code
Ann. § 2913.02 “defines theft without reference to value.” State v. Smith, 905 N.E.2d 151, 152
(Ohio 2009).

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       A second racketeering act is a conspiracy to commit murder in violation of W. Va. Code §

61-10-31 and § 61-2-1. Murder is racketeering activity as defined by 18 U.S.C. § 1961(1).

Consonant with the expansive language of § 1961(1),5 conspiracy may properly be alleged as a

predicate racketeering act when it involves any of the substantive offenses included within the

definition of racketeering activity. E.g., United States v. Licavoli, 725 F.2d 1040, 1045 (6th Cir.

1984) (“[R]acketeering activity includes ‘any act or threat involving’ the substantive crime,

‘chargeable under state law and punishable by imprisonment for more than one year. . . . We see

no indication that Congress intended conspiracy to commit murder not to be a predicate act under

section 1961(1)(A) . . . .”); United States v. Welch, 656 F.2d 1039, 1063 n.32 (5th Cir. 1981), cert.

denied, 456 U.S. 915 (1982).

       The factual basis for this incident is discussed in signed stipulations of facts from Floyd

Moore and Thomas Morris, both of whom have pled guilty to offenses in this case. The conspiracy

lasted from approximately May of 2006 to March of 2007. The conspiracy involved Morris, who

was the president of the Red House, West Virginia, chapter of the Avengers Motorcycle Club, and

Moore, who was the PMC national vice president. The Avengers had reached a detente with the

PMC. They were not a support club of the PMC, but they were permitted to operate an independent


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   Section 1961(1) includes “any act or threat involving murder” in the definition of a racketeering
activity, which firmly contemplates a conspiracy to commit murder. 18 U.S.C. § 1961(1) (emphasis
added); see also United States v. Welch, 656 F.2d 1039, 1063 n.32 (5th Cir. 1981), cert. denied, 456
U.S. 915 (1982) (“The language of [18 U.S.C. § 1961] subsection [1]A itself which includes ‘any
act or threat involving murder’ appears to contemplate a conspiracy to commit murder. A
conspiracy to commit murder is an act involving murder.”); United States v. Pungitore, 910 F.2d
1084, 1134 (3d Cir. 1990) (holding that, even though not expressly mentioned in 18 U.S.C. § 1961,
conspiracy is a racketeering activity in light of the broad “involving” language of the statute); United
States v. Joseph, 781 F.2d 549, 555 (6th Cir. 1986) (“Conspiracy to gamble [a racketeering activity
listed in 18 U.S.C. § 1961(1)(A)] on its face falls within 18 U.S.C. § 1961(1)(A)’s definition of
racketeering activity.”).

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 quasi-outlaw motorcycle club in the PMC’s territory nonetheless. Morris asked Moore for

 assistance killing a woman for personal reasons.6 Moore volunteered the services of this personal

 sergeant-at-arms, Ronnie Howerton, to carry out the hit. The plot was stopped by law enforcement

 before its object was accomplished. According to the Government’s undisputed proffer, Moore’s

 participation in the conspiracy was an act on behalf of the PMC enterprise because it helped to

 maintain the PMC’s control over its territory and influence over the Avengers. The threat of

 repeated incidents of racketeering activity was present so long as the Avengers and the PMC sought

 to maintain their uneasy relationship.7 More broadly, this episode demonstrates the lengths to which

 the PMC would go to maintain its dominance over territory and other motorcycle clubs. There is

 no indication that this threat had abated at the time of the Racine incident.

         Another racketeering act that may be found in the record was a conspiracy to retaliate against

 a witness in violation of 18 U.S.C. § 1513(f).8 This offense is included in the list of federal offenses

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  The Court rejected Morris’s proposed guilty plea to a VICAR offense based on the facts outlined
 here. Morris’s motivations were personal and in no way related to the enterprise, which negated the
 mens rea element of the VICAR charge. Morris later pled guilty to an information charging him
 with a VICAR offense stemming from a different incident, as discussed infra.
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   This conclusion is borne out by the facts underpinning Morris’s second guilty plea. Shortly after
 the murder conspiracy ended, in June of 2007, a man known to Moore broke into his home at night
 and violently assaulted Moore and his girlfriend. Moore issued orders that the man was to be found
 and forcibly returned to him so that he could exact revenge for the assault. Morris responded by
 ordering members of the Avengers to be on the lookout for the man and to restrain him if found.
 8
   Section 1513, in its entirety, is expressly listed in the definition of “racketeering activity,” as set
 forth in 18 U.S.C. § 1961(1)(B). Furthermore, § 1961(1)(B) refers to a slew of criminal statutes
 included in defining “racketeering activity,” but it broadly proclaims that “racketeering activity”
 includes any act which is indictable under of the listed sections. Incorporated in that list is 18 U.S.C
 § 1513, which is described as “relating to retaliating against a witness, victim, or an informant.” 18
 U.S.C. § 1961(1)(B). Not only is 18 U.S.C. § 1513(f), conspiracy to retaliate, specifically listed in
 the definition of racketeering activity, it is also covered by the plain language of § 1961(1)(B)
 because it is an “act which is indictable under . . . section 1513 [which relates to] tampering with a
                                                                                           (continued...)

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 qualifying as racketeering activity. 18 U.S.C. § 1961(1).        In that conspiracy, the Government

 alleged that several members of the LRMC conspired in late 2005 to assault a PMC member

 incarcerated at the Federal Correctional Institution in Ashland, Kentucky (FCI Ashland). The

 intended victim had cooperated with law enforcement officers in the prosecution of his co-

 defendant, who also was a PMC member, in a federal bank robbery case. Floyd Moore authorized

 the assault, which was facilitated by a corrections officer at FCI Ashland, Michael Stevens. Stevens

 was convicted by a jury for his role in the conspiracy. This plot was found by the Court to be part

 of the factual basis, as racketeering activity, for the guilty plea of co-Defendant David Cremeans.

        The FCI Ashland plot furthered the PMC’s goals—as proffered by the Government—of

 protecting its unlawful activities through violence and intimidation. More specifically, the plot, if

 it had succeeded, would have sent a message to others that persons who provide information about

 the PMC to law enforcement do so at their own peril. The threat of similar acts of violence

 remained present so long as the PMC maintained the practice of punishing and intimidating persons



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  (...continued)
 witness, victim, or an informant.” See also Palmetto State Med. Ctr., Inc. v. Operation Lifeline, 117
 F.3d 142, 148 (4th Cir. 1997) (referring to 18 U.S.C. § 1951 (extortion), which is also a listed statute
 in 18 U.S.C. § 1961(1)(B), and stating “[e]xtortion, attempted extortion, and conspiracy to extort
 under the Hobbs Act are explicitly identified as requisite predicate acts under § 1961.”); accord Ne.
 Women’s Ctr., Inc. v. McMonagle, 868 F.2d 1342, 1350 (3d Cir. 1989) (attempted extortion and
 conspiracy to commit extortion are crimes under 18 U.S.C. § 1951, a statute enumerated in 18
 U.S.C. § 1961(1)(B), and “any act which is indictable under [a listed section]” is a racketeering act);
 United States v. Livacoli, 725 F.2d 1040, 1045 n.6 (6th Cir. 1984) (“Conspiracies or attempts can
 serve as the underlying racketeering activities because 18 U.S.C. § 1961(1)(B) defines ‘racketeering
 activity’ as including those offenses indictable under 18 U.S.C. § 1951. Section 1951, in turn,
 makes punishable attempts or conspiracies to obstruct, delay, or affect commerce by robbery,
 extortion, or physical violence.” (quoting United States v. Brooklier, 685 F.2d 1208, 1216 (9th Cir.
 1982))). Just like the Hobbs Act, 18 U.S.C. § 1951, the witness retaliation statute makes punishable
 a conspiracy to retaliate, and therefore brings conspiracy to retaliate within the purview of 18 U.S.C.
 § 1961(1)(B).

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 who cooperate with the law enforcement against members of the PMC. There has been plenty of

 evidence in this case that “rats” are not tolerated in the PMC enterprise. The record supports the

 conclusion that this threat was present at the time of the incident in Racine.

        The evidence in the record indicates that the PMC and its support clubs were engaged in

 several forms of racketeering activity during the time period relevant to the instant offense.

 Accordingly, the Court finds that there is a sufficient basis in fact for the conclusion that the PMC

 and its support clubs constituted an enterprise engaged in racketeering activity at the time the

 defendants’ confronted the Next to Kin members.

                2. Threat to commit a crime of violence

        To establish a factual basis for a VICAR threat of violence, the Government must

 demonstrate that at least one of the LRMC members threatened a crime of violence against one of

 the Next to Kin. Courts construing statutes analogous to § 1959(a)(4) provide guidance for

 distinguishing “true threats” from lawful communications. Statements may be considered true

 threats if “an ordinary reasonable recipient who is familiar with the[ir] context . . . would interpret

 [those statements] as a threat of injury.” United States v. Armel, 585 F.3d 182, 185 (4th Cir. 2009)

 (quoting United States v. Roberts, 915 F.2d 889, 891 (4th Cir. 1990)) (interpreting 18 U.S.C. § 115,

 which prohibits threats to assault Federal officials); see also Watts v. United States, 394 U.S. 705,

 707&08 (construing 18 U.S.C. § 871, which prohibits threats against the President). True threats

 need not be explicit or direct, so long as the person receiving the communication reasonably

 understands its threatening meaning. See, e.g., United States v. Napa, 370 F. App’x 402 (4th Cir.

 2010) (unpublished) (finding email containing quotes from and references to Virginia Tech shooter,

 Seung-Hoi Chu, sent to survivors of attack to be threats); United States v. Thai, 29 F.3d 785, 819


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 (2d Cir. 1994) (construing demand for free beeper service as threat where previous unmet demand

 for free service resulted in robbery). Threats may be express or implied, including threats implied

 by actions or deeds. See, e.g., United States v. DiSalvo, 34 F.3d 1204, 1212-13 (3d Cir. 1994)

 (violent reputation of crime organization, in conjunction with presence of several members, held

 sufficient as a threat under extortion statute); United States v. Balzano, 916 F.2d 1273, 1279, 1291

 (7th Cir. 1990) (threat implied from motion of dragging finger across neck). For statutes

 criminalizing threats, it generally is immaterial whether the defendant actually intended to carry out

 the threat. United States v. Darby, 37 F.3d 1059, 1064 n.3 (4th Cir. 1994) (collecting cases

 interpreting various statutes prohibiting threats).

        VICAR requires that the crime of violence threatened be unlawful under Federal law or the

 laws of the state in which the conduct occurred. The Government identifies the predicate crime of

 violence threatened as battery. Under West Virginia law, a battery has been committed “[i]f any

 person unlawfully and intentionally makes physical contact of an insulting or provoking nature with

 the person of another or unlawfully and intentionally causes physical harm to another person.” W.

 Va. Code § 61-2-9(c). This Court previously has found that West Virginia’s battery statute is a

 proper VICAR predicate crime of violence so long as the conduct is charged under the statute’s

 second clause, as physical contact that unlawfully and intentionally causes physical harm to another

 person. Barbeito, 2010 WL 2243878, at *96&99, 2010 U.S. Dist. LEXIS 55688, at *29&30 (holding

 that batteries predicated on offensive or insulting touching are not “crimes of violence” for purposes

 of VICAR).

         There is ample evidence in the record to conclude that the LRMC members threatened the

 Next to Kin members with physical harm during the encounter. The LRMC members’ confrontation


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 with the Next to Kin members must be viewed in context. The Next to Kin members were familiar

 with the ways of PMC and LRMC. Scott Smith had declined an offer to join the LRMC, preferring

 to form his own family-oriented group instead. Smith had sought, and mistakenly believed he had

 obtained, permission from the PMC to form the group. Smith tried to argue this point with James

 Lyttle, who would hear none of it. Smith would not have sought permission from the PMC to form

 a riding group—an entirely lawful activity—unless he was aware that there were consequences

 associated with forming a group without the PMC’s blessing. Smith therefore would have

 understood the reason the LRMC members were demanding the Next to Kin’s vests and,

 presumably, the consequences of any refusal to comply with the demand.

        It is in this context that five LRMC members descended on the four Next to Kin members,

 two men and two women. Eric Lyttle demanded that Scott Smith approach him. Lyttle was flanked

 by Peters and James Lyttle. James Lyttle’s firearm was visible. Peters admitted that he assumed

 an intimidating and threatening posture. Although Jett did not dismount his motorcycle, he admitted

 displaying the same demeanor. With the LRMC members so assembled, Eric Lyttle demanded the

 vests. He informed Scott Smith if he refused, Lyttle would inform the PMC of the Next to Kin’s

 obstinance. The import of this ultimatum was unmistakable under the circumstances: the Next to

 Kin would face violent reprisal from the PMC if the did not turn over their vests.

        The threat of a future violence was present in Eric Lyttle’s demands of the Next to Kin.

 However, that is not to say that there were not threats of more imminent assaults as well. During

 the encounter, Massey stood behind April Smith goading the Next to Kin members with taunts of

 “Do you want to start something?” and “I ain’t scared to whoop nobody.” When Scott Smith told

 April Smith to call the police, Eric Lyttle responded, “That would be the worst thing you could do.”


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 The warning was sufficiently threatening to cause April Smith to refrain from calling the police.

 She testified that the words of Eric Lyttle, coupled with the positions and posture of the other LRMC

 members present, placed her in fear of an imminent violent assault.

        Under the circumstances, and given April and Scott Smith’s prior knowledge of the LRMC

 and PMC, they reasonably could have understood the LRMC members’ actions that day to constitute

 true threats of physical harm. The causing of physical harm is battery under West Virginia law.

 Accordingly, there is a basis in fact to find that the LRMC members threatened the Next to Kin

 members with batteries.

        C. Aiding and Abetting VICAR Offense

        To convict a defendant as an aider and abettor, it must be proven that someone committed

 the substantive offense. United States v. Horton, 921 F.2d 540, 543 (4th Cir. 1990) (discussing 18

 U.S.C. § 2). The defendant will be liable as a principle even though his role in the crime was minor

 if he “knowingly associated himself with and participated in the criminal venture.” United States

 v. Burgos, 94 F.3d 849, 873 (4th Cir. 1996) (quoting United States v. Winstead, 708 F.2d 925, 927

 (4th Cir. 1983). The defendant must have the specific intent to accomplish the purpose of the

 criminal undertaking he is aiding and abetting. United States v. Gross, 199 F. App’x 219, 235 (4th

 Cir. 2006) (unpublished).

        There is a basis in fact for the guilty pleas of James Lyttle and Massey under an aiding and

 abetting theory. According to the LRMC minutes from their April 5, 2008, chapter meeting, Massey

 was present when the orders were given to shut down the Next to Kin. Massey admitted sharing the

 criminal purpose of stripping the Next to Kin members of their vests through intimidation and

 threats. Massey aided the threats directly by verbally taunting the Next to Kin members. James


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 Lyttle did the same by flanking his son, Eric Lyttle, thereby encouraging the argument and

 threatened hostilities by the other LRMC members. James Lyttle had received Floyd Moore’s order

 regarding the Next to Kin and had instructed his own club accordingly. Moreover, it was James

 Lyttle who took custody of the Next to Kin colors at the close of the encounter. James Lyttle also

 admits to carrying a firearm during the encounter, which was displayed openly enough for several

 members of the Next to Kin to observe, whether intended or not.

        While mere presence at the scene of a crime is not enough to establish that a criminal

 defendant aided or abetted a criminal venture, United States v. Spoone, 741 F.2d 680, 686 (4th Cir.

 1984), in order to support a conviction for aiding and abetting, the government need only prove that

 a defendant participated at some stage of an illegal venture with knowledge of the result and the

 intent to bring about that result. See United States v. Foster, 507 F.3d 233, 245 (4th Cir. 2007).

 James Lyttle’s and Massey’s actions aided the offense by demonstrating that the LRMC was capable

 of carrying out Eric Lyttle’s threats if necessary. No more is required to be found liable as an aider

 and abettor. See Burgos, 94 F.3d at 873; cf. United States v. Nelson, 484 F.3d 257, 261 (4th Cir.

 2007) (noting that defendants’ pleas “constitute[] an admission of all material elements of the

 crime”).

                                         III. CONCLUSION

        For the reasons set forth above, the Court FINDS that there is a sufficient basis in fact for

 the guilty pleas of Defendants Eric Lyttle, James Lyttle, and Donald Massey, Jr.




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        The Court DIRECTS the Clerk to send a copy of this Order to Defendants and counsel, the

 United States Attorney, and the United States Probation Office.

                                             ENTER:         December 15, 2010




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